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                     WHATSAPP INC. and FACEBOOK, INC.
            10
            11                                     UNITED STATES DISTRICT COURT

            12                                 NORTHERN DISTRICT OF CALIFORNIA

            13
            14       WHATSAPP INC., a Delaware corporation,        Case No. 3:19-cv-07123-JSC
                     and FACEBOOK, INC., a Delaware
            15       corporation,                                  [PROPOSED] ORDER GRANTING
                                                                   PLAINTIFFS’ REQUEST FOR JUDICIAL
            16                                                     NOTICE IN SUPPORT OF APPLICATION
                                     Plaintiffs,                   FOR ENTRY OF DEFAULT
            17
                           v.                                      Hon. Jacqueline S. Corley
            18
                     NSO GROUP TECHNOLOGIES LIMITED
            19       and Q CYBER TECHNOLOGIES LIMITED,

            20                       Defendants.

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                                                                                       [PROPOSED] ORDER GRANTING
  COOLEY LLP
ATTO RNEY S AT LAW                                             1                      REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                       CASE NO. 3:19-CV-07123-JSC
                          Case 4:19-cv-07123-PJH Document 21-1 Filed 02/27/20 Page 2 of 2



              1                Before the Court is Plaintiffs WhatsApp Inc. and Facebook, Inc.’s Request for Judicial

              2      Notice in Support of Plaintiffs’ Application for Entry of Default. The Court, having considered the

              3      papers and good cause appearing, hereby GRANTS the Request for Judicial Notice, and takes

              4      judicial notice of the following documents:

              5                1.     Exhibit 1: A true and correct copy of a press release published online by NSO Group

              6      on October 29, 2019, available at https://www.prnewswire.com/news-releases/nso-group-statement-

              7      on-facebook-lawsuit-300947701.html and archived at

              8      https://web.archive.org/web/20191209233631/https://www.prnewswire.com/news-releases/nso-

              9      group-statement-on-facebook-lawsuit-300947701.html.

            10                 2.     Exhibit 2: A true and correct copy of the “Board of Directors” page on NSO Group’s

            11       website, available at https://www.nsogroup.com/about-us/board-of-directors/ and archived at

            12       http://web.archive.org/web/20191228031914/https://www.nsogroup.com/about-us/board-of-

            13       directors/.

            14                 3.     Exhibit 3: A true and correct copy of a public filing under the Foreign Agents

            15       Registration Act by Mercury Public Affairs, LLC, dated January 6, 2020, available at

            16       https://efile.fara.gov/docs/6170-Exhibit-AB-20200106-74.pdf and archived at

            17       http://web.archive.org/web/20200211030407/https://efile.fara.gov/docs/6170-Exhibit-AB-20200106-

            18       74.pdf.

            19       IT IS SO ORDERED.
            20       Dated: _________________
            21
                                                                     Honorable Jacqueline S. Corley
            22                                                       United States Magistrate Judge
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                                                                                               [PROPOSED] ORDER GRANTING
  COOLEY LLP
ATTO RNEY S AT LAW                                                     2                      REQUEST FOR JUDICIAL NOTICE
 SAN FRA NCI S CO                                                                               CASE NO. 3:19-CV-07123-JSC
